                     IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TENNESSEE
                               AT GREENEVILLE


UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )      No. 2:10-CR-110
                                                 )
VICTOR ORTIZ GARCIA                              )


                           MEMORANDUM AND ORDER

              The defendant will be sentenced on June 5, 2012. At paragraph 49 of the

presentence investigation report (“PSR”), the probation office recommends that the

defendant’s offense level be increased by three pursuant to U.S.S.G. § 3B1.1(b) based on his

role as a manager or supervisor of the charged cocaine and marijuana conspiracy. At

paragraph 63 of the PSR, the probation office adds two criminal history points because the

defendant was on probation at the time the instant offense was committed.

              The defendant objects to both of the above-cited applications. In addition, he

objects that he should instead be deemed a minor participant in the conspiracy, and that his

offense level should therefore be reduced by two pursuant to U.S.S.G. § 3B1.2(b). The court

finds that a hearing on the objections is unnecessary. For the reasons provided herein, the

defendant’s objections will be overruled.




Case 2:10-cr-00110-RLJ       Document 981 Filed 05/31/12          Page 1 of 4    PageID #:
                                        3760
                                               I.

                                      Criminal History

              In his sentencing memorandum filed on May 25, 2012, the defendant withdrew

his objection to the calculation of his criminal history. [Doc. 973, p.2]. That objection is now

moot.

                                              II.

                       Aggravating and Mitigating Role Adjustments

              Section 3B1.1(b) of the advisory sentencing guidelines provides for a three-

level increase in the offense level, “If the defendant was a manager or supervisor [of one or

more other participants] . . . and the criminal activity involved five or more participants or

was otherwise extensive . . . .” The instant conspiracy (in which 36 defendants are charged)

involved five or more participants.

              As for the issue of managerial/supervisory capacity, neither the defendant’s

objection nor his sentencing memorandum offers any argumentation whatsoever. “It is not

sufficient for a party to mention a possible argument in the most skeletal way, leaving the

court to ... put flesh on its bones.” United States v. Cole, 359 F.3d 420, 428 n.13 (6th Cir.

2004) (citation omitted).

              The court is able to resolve the defendant’s remaining objections by looking

to the facts admitted by him in his plea agreement. The defendant “often directed co-

defendant Jose Delapaz Delacruz to pick up cocaine for him from” codefendant Tomas


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Case 2:10-cr-00110-RLJ        Document 981 Filed 05/31/12           Page 2 of 4     PageID #:
                                         3761
Estrada Sarabia, the central figure in this case. [Doc. 420, ¶ 4(b)]. The defendant “also used

Delacruz to deliver money to Estrada.” Id.

              The defendant admits responsibility for distributing a significant amount of

cocaine and marijuana. [Doc. 420, ¶¶ 4(a), (o)]. He also traveled with Estrada Sarabia on at

least three occasions to meet with primary cocaine suppliers, and the defendant and Sarabia

discussed what price per pound they should set for their marijuana sales. [Doc. 420, ¶¶ 4(b),

(o)]. The defendant also “often assisted” in translating conversations between Estrada

Sarabia and a non-Spanish-speaking codefendant. [Doc. 420, ¶ 4(m)].

              Based on these admitted facts, the court finds that the defendant was

significantly involved in planning and organizing the extensive drug distribution network in

this case. Further, he “often directed” the actions of a codefendant. The defendant’s offense

level is therefore properly increased by three for being a manager or supervisor, pursuant to

U.S.S.G. § 3B1.1(b).

              Lastly, because the defendant is properly deemed a manager/supervisor, he is

not entitled to a minor role reduction under § 3B1.2(b). In any event, the court would not

apply that adjustment because the defendant is only being held accountable for the quantity

of drugs attributable to him. See U.S. v. Campbell, 279 F.3d 392, 396 (6th Cir. 2002)

(“Defendants may be minimal or minor participants in relation to the scope of the conspiracy

as a whole, but they are not entitled to a mitigating role reduction if they are held accountable

only for the quantities of drugs attributable to them.”).


                                               3


Case 2:10-cr-00110-RLJ        Document 981 Filed 05/31/12            Page 3 of 4     PageID #:
                                         3762
               For the reasons provided herein, the defendant’s objections to his PSR are

overruled in their entirety.1

               IT IS SO ORDERED.

                                                              ENTER:


                                                                       s/ Leon Jordan
                                                                  United States District Judge




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         In his objections, the defendant also that his criminal history classification is substantially
overstated. The defendant remains free to argue that issue at sentencing.

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Case 2:10-cr-00110-RLJ          Document 981 Filed 05/31/12              Page 4 of 4      PageID #:
                                           3763
